              Case 2:19-cv-01205-RSM Document 149 Filed 10/18/21 Page 1 of 3




 1                                                         CHIEF JUDGE RICARDO S. MARTINEZ
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   STEVE MOSHTAGH, an individual, on                )   Case No. 2:19-cv-01205-RSM
     behalf of himself and others similarly situated, )
10                                                    )
                                      Plaintiffs,     )
11                                                    )   ORDER FOR DISMISSAL WITH
             v.                                       )   PREJUDICE AND TO ASSESS HOME
12                                                    )   DEPOT’S COSTS
                                                      )
13   THE HOME DEPOT U.S.A., INC., a                   )
     Delaware corporation,                            )   Noted on Motion Calendar: October 8,
14                                                    )   2021
                                     Defendant.       )
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     ORDER FOR DISMISSAL WITH PREJUDICE AND TO ASSESS                          LANE POWELL PC
     HOME DEPOT’S COSTS - 1                                             1420 FIFTH AVENUE, SUITE 4200
                                                                                 P O BOX 91302
     No. 2:19-cv-1205-RSM                                              SEATTLE, WASHINGTON 98111-9402
     106666.1062/8708512.1                                               206.223.7000 FAX: 206.223.7107
              Case 2:19-cv-01205-RSM Document 149 Filed 10/18/21 Page 2 of 3




 1                                                 ORDER
 2            THIS MATTER, having come on regularly for hearing before the Court on Plaintiff’s
 3   Motion for Dismissal with Prejudice (“Motion”), and the Court having considered the Home
 4   Depot’s response to the Motion, and other pleadings on file, does hereby:
 5            ORDER, ADJUDGE AND DECREE that Plaintiff’s remaining claim for failure to
 6   provide rest breaks, and derivative claim for double damages for willful withholding, are hereby
 7   dismissed with prejudice. Home Depot may seek to recover its costs incurred in this action
 8   pursuant to Federal Rule of Civil Procedure 54 and Civil Local Rule 54. Home Depot has twenty-
 9   one days from the date of this order to submit its bill of costs.
10            This order constitutes a final order dismissing this action with prejudice.
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12            IT IS SO ORDERED.
13            DATED this 18th day of October, 2021.
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16                                                  A
                                                    RICARDO S. MARTINEZ
17                                                  CHIEF UNITED STATES DISTRICT JUDGE
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     Presented by:
20
     LANE POWELL PC
21
     By: s/ John S. Devlin
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     John S. Devlin III, WSBA No. 23988
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25   Fax: (206) 223-7107
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26           devlinj@lanepowell.com
27

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              Case 2:19-cv-01205-RSM Document 149 Filed 10/18/21 Page 3 of 3




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 7   Attorneys for Defendant The Home Depot U.S.A., Inc.
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     ORDER FOR DISMISSAL WITH PREJUDICE AND TO ASSESS               LANE POWELL PC
     HOME DEPOT’S COSTS - 2                                  1420 FIFTH AVENUE, SUITE 4200
     No. 2:19-cv-1205-RSM                                             P O BOX 91302
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